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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                         BROWNSVILLE DIVISION

 STATE OF TEXAS, et al.,                            )
                                                    )
                                        Plaintiffs, )
                                                    )
 v.                                                 )       Case No. 1:18-cv-00068
                                                    )
 UNITED STATES OF AMERICA, et al.,                  )
                                                    )
                                      Defendants, )
                                                    )
 and                                                )
                                                    )
 KARLA PEREZ, et al.,                               )
                                                    )
                            Defendant-Intervenors. )

    PLAINTIFF STATES’ RESPONSE TO DEFENDANT-INTERVENORS’
     REQUEST FOR DECLARATIONS FROM FEDERAL DEFENDANTS
      Recognizing the time constraints on Plaintiff States’ motion for a preliminary

injunction, the parties agreed to deadlines that would facilitate the expedited

discovery requested by Defendant-Intervenors. Defendant-Intervenors now seek to

prejudice Plaintiff States by relying on declarations that still have not been produced

to the other parties and sworn testimony from federal witnesses that are not needed

at this stage of the proceeding. Plaintiff States oppose the request for declarations

from the federal witnesses, which purportedly relate to issues that are largely not in

dispute.

      As explained in Plaintiff States’ response to Defendant-Intervenors’ requested

discovery from Defendants, the U.S. Court of Appeals for the Fifth Circuit has already

held that DACA is not an act of discretion. See ECF 94. Evidence of the lack of


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discretion has only grown since the affirmance of this Court’s preliminary injunction

blocking DAPA and Extended DACA. See, e.g., Pls.’ Mot. for Prelim. Inj. Ex. 5 n.1

(App. 22-23) (ECF No. 6). And the Court has ordered Defendants to respond to

Defendant-Intervenors’ detailed written discovery requests seeking any additional

information regarding the rate of DACA application approvals. ECF 97.

      As such, the declarations from federal employees are not needed for the Court

to rule on the motion for preliminary injunction. To the extent that Defendant-

Intervenors claim the implementation of DACA has changed under the new federal

executive administration, the proposed federal witnesses cannot testify to that. Sarah

Saldaña, Stephen Legomsky, and Gil Kerlikowske are former federal employees who

worked under the prior administration. See ECF No. 91. They cannot have knowledge

of current practices and, at most, can testify regarding only what happened prior to

September 5, 2017, the date that the U.S. Citizenship and Immigration Service

acknowledged it could not identify any truly discretionary denials. See, e.g., Pls.’ Mot.

for Prelim. Inj. Ex. 5 n.1 (App. 22-23) (ECF No. 6). The proposed declarations from

Donald Neufeld and Michael Hoefer are dated January 30, 2015, well before the

September 2017 acknowledgment from USCIS regarding the lack of discretionary

denials. And the excerpts from the depositions of James McCament and James D.

Nealon relate to the decision to rescind DACA in 2017, which is not the subject of this

case. Those witnesses do not dispute the September 2017 acknowledgement or any of

the other evidence proving that DACA is not an act of discretion.




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      Additionally, Defendant-Intervenors’ attempts to use sworn statements from

the federal witnesses violate the parties’ agreement and the Court’s order regarding

timing of disclosures. Defendant-Intervenors have designated Mr. Legomsky and Mr.

Kerlikowske as testifying experts, but they have failed to comply with the Court’s

order regarding the disclosure of their expert opinions. See ECF No. 53. While

disclosing their names and short summaries of their opinions, Defendant-Intervenors

have not provided reports, declarations, or the supporting material for Mr. Legomsky

and Mr. Kerlikowske. Likewise, Defendant-Intervenors still have not provided the

proposed testimony of Ms. Saldaña even though the parties agreed to exchange

exhibits on June 15, 2018. See Ex. A. And Defendant-Intervenors failed to include

Mr. Hoefer, Mr. McCament, or Mr. Nealon on their list of fact witnesses due by

agreement of the parties on June 8, 2018. Id; ECF No. 87-3. With only seven days left

in the discovery period, allowing these experts to testify at this point would severely

prejudice Plaintiff States.

      Plaintiff States oppose the inclusion of the unnecessary and still-undisclosed

declarations from Ms. Saldaña, Mr. Legomsky and Mr. Kerlikowske and the

unnecessary and untimely testimony from Mr. Neufeld, Mr. Hoefer, Mr. McCament,

and Mr. Nealon.




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June 22, 2018                        Respectfully Submitted.

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                           CERTIFICATE OF SERVICE

        I certify that on June 22, 2018, this document was electronically filed with the
Clerk of the Court using the CM/ECF system, which will send notification of such
filing to all counsel of record.

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